           Case 1:21-cv-11244-DJC Document 10 Filed 08/17/21 Page 1 of 13




                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS



 HUNTER HARRIS and CORA CLUETT

                                 Plaintiffs,

 v.
                                                        C.A. No. 1:21-cv-11244-DJC
 UNIVERSITY OF MASSACHUSETTS
 LOWELL, JACQUELINE MOLONEY,
 UNIVERSITY OF MASSACHUSETTS
 BOSTON, MARCELO SUAREZ-OROZCO
 and SHAWN DE VEAU,

                                 Defendants.


                         DECLARATION OF SHARONE GREEN, M.D.

       I, Sharone Green, M.D. do declare, under penalty of perjury and pursuant to 28 U.S.C.
§ 1746, as follows:

      1. I am over 18 years of age. This declaration is based upon my own personal and
         professional knowledge and experience.

      2. I am competent to testify as a medical expert to the facts and matters set forth herein. A
         true and accurate copy of my C.V. is attached as Exhibit A.

      3. I received my B.A. from Queens College of the City University of New York and my
         M.D. from Eastern Virginia Medical School in Norfolk, VA.

      4. I completed an internal medicine residency at Washington Hospital Center, Washington
         D.C. I am Board Certified in Internal Medicine by the American Board of Internal
         Medicine.

      5. I completed a fellowship in infectious diseases at the University of Massachusetts
         Medical Center. I am Board Certified in Infectious Diseases by the American Board of
         Internal Medicine.

      6. I serve the University of Massachusetts Medical School (“UMMS”) as an Associate
         Professor of Medicine in the Division of Infectious Diseases and Immunology.

      7. I have over 30 years of experience in clinical and basic science research in emerging viral


                                                   1
       Case 1:21-cv-11244-DJC Document 10 Filed 08/17/21 Page 2 of 13




     diseases including dengue, West Nile virus, Japanese encephalitis virus, chikungunya
     virus, and Zika virus with a special interest in viral pathogenesis and protection from
     vaccines. I resided in Thailand for 4 ½ years to establish a clinical trial of dengue
     hemorrhagic fever in Thai children in Bangkok and Kamphaeng Phet, Thailand in
     collaboration with the Armed Forces Research Institute of Medical Sciences. My
     research has included participation in a Phase I clinical trial of a HIV DNA prime/protein
     boost vaccine candidate which enrolled study subjects at UMMS. Additionally, I studied
     human antibody and T cell responses to dengue virus using samples from Thai children
     and conducted clinical laboratory T cell studies using samples from adults enrolled in
     Phase I and II candidate West Nile and Japanese encephalitis virus vaccine clinical trials.
     I have been the Project Leader for several NIH-funded Program Project grants and NIH
     contracts. I have authored 90 papers in the fields of viral immunopathogenesis and
     vaccine research and have participated in several NIH Special Emphasis Panels on
     emerging viral diseases.

  8. I am currently the Infectious Disease Officer at UMMS. UMMS established this position
     in May 2020 in response to the COVID-19 pandemic to provide a safe learning and
     research environment for medical students, nursing students, graduate students, faculty,
     and staff. When UMMS initially returned employees to the workplace on May 26, 2020,
     I was responsible for COVID-19 PCR screening of approximately 2,400 employees, a
     novel concept at that time. My responsibilities since that time have included
     development and oversight of COVID-19 Infection Control plans for UMMS employees
     and students, leading a multidisciplinary team for the establishment and oversight of a
     COVID-19 surveillance site at UMMS and several satellite testing sites, oversight of an
     Infection Control Team for notification and contact tracing of students and employees
     who test positive for COVID-19, communications and education related to COVID-19 in
     numerous leadership forums as well as monthly Virtual Town Hall meetings. In this role,
     I collaborate with the Infection Control team at UMass Memorial Medical Center,
     Employee Health Services and Student Health Services. I have participated in several
     outreach efforts as well, including: (a) supervision of a team of contact tracers for The
     College of the Holy Cross, Worcester, serving as consultant when needed; (b) serving as
     an expert reviewer for Commonwealth Medicine’s investigation of the COVID-19
     Outbreak at the Soldier’s Home in Chelsea which was requested by Governor Baker; and
     (c) ad hoc consultant on COVID-19 to other universities in HECCMA.

  9. As an Infectious Disease physician, I attend on the consultation services at UMass
     Memorial’s University and Memorial campuses and participate in clinical case
     conferences. Since the start of the pandemic, I have consulted on numerous hospitalized
     COVID-19 patients, several of which were young adults. I have been an active
     participant in Infection Control activities at UMass Memorial Health campuses related to
     COVID-19 since the beginning of the pandemic.

COVID-19 Facts

  10. COVID-19 is an infectious disease caused by (SARS-CoV-2), the novel coronavirus that
      primarily spreads through respiratory droplets and aerosol transmission.

                                              2
        Case 1:21-cv-11244-DJC Document 10 Filed 08/17/21 Page 3 of 13




   11. People of all ages can contract and transmit COVID-19.

   12. People who contract COVID-19 may suffer from immediate severe illness and/or suffer
       long-term ongoing health problems, extending several weeks or months. Individuals
       infected with COVID-19 can suffer these long-term negative health effects even if they
       were initially asymptomatic. COVID-19 can also be fatal. See
       https://www.cdc.gov/coronavirus/2019-ncov/long-term-effects.html;
       https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2778237

   13. Additionally, all individuals, including children and young people, who contract COVID-
       19 risk giving it to others, including friends, family, and other individuals with whom
       they interact; those individuals may suffer severe illness or death. While COVID-19
       affects children and young adults less severely than middle aged or older adults, COVID-
       19 has also been shown to cause severe illness in children and young adults. See
       https://www.cdc.gov/coronavirus/2019-ncov/faq.html and
       https://www.cdc.gov/coronavirus/2019-ncov/science/science-
       briefs/transmission_k_12_schools.html

A Brief Background of the COVID-19 Pandemic.

   14. COVID-19 was first identified in Wuhan, China in late 2019.

   15. According to the Massachusetts Department of Public Health, the Commonwealth’s first
       case of COVID-19 was confirmed on February 1, 2020. See
       https://www.mass.gov/news/man-returning-from-wuhan-china-is-first-case-of-2019-
       novel-coronavirus-confirmed-in. The Commonwealth’s first COVID-19-related death
       was confirmed on March 20, 2020. See https://www.mass.gov/news/massachusetts-
       public-health-department-reports-states-first-death-from-covid-19

   16. Since February 2020, Massachusetts has had over 686,018 confirmed COVID-19 cases
       (and 48,468 probable cases) and 17,773 people have been confirmed to have died from
       COVID-19 (with an additional 370 deaths denoted as probably due to COVID-19). See
       https://www.mass.gov/info-details/covid-19-response-reporting (last visited August 14,
       2021).

   17. Data recorded through August 15, 2021 by CDC demonstrates that cases among
       individuals aged 18 through 29 across the U.S. account for 23% of COVID-19 infections
       (6,595,936 infections) and 2,870 individuals in that demographic have died from the
       virus. See https://covid.cdc.gov/covid-data-tracker/#demographics.


   18. Surveillance testing for COVID-19 on many college campuses may have led to more
       reported cases, but certainly does not account for the majority of cases. For example, in
       Massachusetts where a large proportion of colleges have implemented surveillance
       screening, a total of 18,371 individuals have thus far tested positive of 8,334,417 tests

                                                3
        Case 1:21-cv-11244-DJC Document 10 Filed 08/17/21 Page 4 of 13




      submitted. See https://www.mass.gov/info-details/covid-19-response-reporting#covid-
      19-interactive-data-dashboard- (accessed 8/15/2021). These positive cases may represent
      non-student cases (e.g. faculty and staff working on campus) as well.

   19. The CDC currently estimates that there have been approximately 35 million cases of
       COVID-19 in the United States and over 600,000 people have died from COVID-19 in
       the United States. See CDC, COVID Data Tracker, Nationwide Commercial Laboratory
       Seroprevalence Survey, https://covid.cdc.gov/covid-data-tracker/#national-lab.

   20. The New York Times reports that over 700,000 cases of COVID-19 have been linked
       to colleges and universities in the U.S. since the pandemic began and more than
       260,000 COVID-19 cases have been linked to colleges and universities just since
       January 1, 2021. See Tracking Coronavirus Cases at U.S. Colleges and Universities,
       The New York Times, https://www.nytimes.com/interactive/2021/us/college-covid-
       tracker.html.

   21. A growing number of colleges and universities in the United States are requiring their
       students to be vaccinated against COVID-19 prior to the fall, 2021 semester. The
       current number is over 600. See https://www.bestcolleges.com/blog/list-of-colleges-
       that-require-covid-19-vaccine/.

Vaccination as a Public Health Strategy.

   22. COVID-19 vaccination is considered by CDC to be the best strategy for protecting
       individuals from COVID and ending the pandemic. See
       https://www.cdc.gov/coronavirus/2019-ncov/community/colleges-
       universities/considerations.html; https://www.cdc.gov/coronavirus/2019-
       ncov/science/science-briefs/fully-vaccinated-people.html

   23. CDC recommends that vaccination of students and employees against COVID-19 on
       college and university campuses is the best strategy for individual and campus-wide
       protection. See https://www.cdc.gov/coronavirus/2019-ncov/community/colleges-
       universities/considerations.html

   24. COVID-19 vaccination is widely available for free to anyone living, working, or
       learning in Massachusetts. See https://www.mass.gov/info-details/covid-19-
       vaccination-locations

   25. There are three vaccines currently available in the United States under Emergency
       Use Authorization (EUA): the Pfizer BioNTech mRNA vaccine, the Moderna mRNA
       vaccine and the Johnson and Johnson/Janssen viral-vectored vaccines (“COVID-19
       vaccines”). See https://www.cdc.gov/coronavirus/2019-ncov/vaccines/different-
       vaccines/how-they-work.html

   26. EUA is an approval mechanism used by the Food and Drug Administration to
       facilitate vital countermeasures, such as COVID-19 vaccine, during a Public Health


                                               4
     Case 1:21-cv-11244-DJC Document 10 Filed 08/17/21 Page 5 of 13




   Emergency such as the COVID-19 pandemic. This approval mechanism for COVID-
   19 vaccines in no way jeopardizes the rigorous and science-based standards for
   quality, safety and effectiveness of COVID-19 vaccines. See
   https://www.fda.gov/vaccines-blood-biologics/vaccines/emergency-use-authorization-
   vaccines-explained); Science Brief: COVID-19 Vaccines and Vaccination,
   https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/fully-vaccinated-
   people.html.

27. All three COVID-19 vaccines available in the U.S. under EUA have undergone study
    in rigorous multi-center, international, randomized controlled Phase 1, 2 and 3 clinical
    trials. See Science Brief: COVID-19 Vaccines and Vaccination,
    https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/fully-vaccinated-
    people.html

28. All three COVID-19 vaccines demonstrated a high level of efficacy in Phase 3 clinical
    trials (Pfizer BioNTech 95%, Moderna 94.1%, Johnson and Johnson 72%) (Pfizer:
    https://www.nejm.org/doi/full/10.1056/nejmoa2034577; Moderna:
    https://www.nejm.org/doi/full/10.1056/nejmoa2035389; Johnson and Johnson:
    https://www.nejm.org/doi/full/10.1056/NEJMoa2101544); Comparison: Comparing
    the COVID-19 Vaccines: How Are They Different? > News > Yale Medicine).
    Overall, these are some of the most effective vaccines ever developed. In comparison,
    influenza vaccine efficacy is much lower (19 – 60% over the last 10 years) but is
    required at many universities in Massachusetts. See
    https://www.cdc.gov/flu/vaccines-work/effectiveness-studies.htm. Post-vaccination
    infection rates are low following COVID-19 vaccination. See
    https://www.cdc.gov/mmwr/volumes/70/wr/mm7021e3.htm

29. Each of the COVID-19 vaccines available in the US has been shown to be safe and
    effective. Over 357 million doses of the COVID-19 vaccines have been administered
    in the United States between December 14, 2020 and August 15, 2021. See CDC,
    Safety of COVID-19 Vaccines, https://www.cdc.gov/coronavirus/2019-
    ncov/vaccines/safety/safety-of-vaccines.html; https://covid.cdc.gov/covid-data-
    tracker/#vaccinations_vacc-total-admin-rate-total

30. COVID-19 vaccines are highly effective in preventing hospitalizations and deaths due
    to COVID-19, including those variants that are currently circulating in Massachusetts.
    Individuals who are vaccinated against COVID-19 are less likely than unvaccinated
    individuals to be infected or to be able to transmit virus to others, including Delta
    variant. However, the risk of so-called breakthrough infections cannot be eliminated
    while there is continued high level community transmission. See Science Brief:
    COVID-19 Vaccines and Vaccination, https://www.cdc.gov/coronavirus/2019-
    ncov/science/science-briefs/fully-vaccinated-people.html

31. Following COVID-19 vaccination, it takes time for the body to develop an immune
    response. Someone is considered ‘fully vaccinated’ 14 days after their second dose in
    a 2-dose vaccine series (e.g. Pfizer BioNTech or Moderna mRNA vaccine) or 14 days


                                             5
        Case 1:21-cv-11244-DJC Document 10 Filed 08/17/21 Page 6 of 13




      after a single dose vaccine (e.g. Johnson & Johnson viral vector vaccine).

   32. Re-infection with COVID-19 may occur in individuals following natural infection due
       to waning immunity. CDC therefore recommends COVID-19 vaccination in
       individuals who have previously had COVID-19. See Kentucky-MMWR Reduced
       Risk of Reinfection with SARS-CoV-2 After COVID-19 Vaccination, August 6, 2021,
       https://www.cdc.gov/mmwr/volumes/70/wr/mm7032e1.htm.

   33. CDC recommends that children age 12 and older receive COVID-19 vaccine because
       children may become infected with SARS-CoV-2, become ill, and may spread the
       virus to others. Vaccinating older children and teens helps to protect other family
       members (younger siblings who are ineligible for vaccine, family members at high
       risk for COVID-19) and other individuals with whom they interact. See COVID-19
       Vaccines for Teens and Children, https://www.cdc.gov/coronavirus/2019-
       ncov/vaccines/recommendations/adolescents.html.

Safety of COVID-19 Vaccines

   34. COVID-19 vaccines are safe and are extremely unlikely to cause serious side-effects
       that could lead to long-term health consequences. See CDC, Safety of COVID-19
       Vaccines: https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/fully-
       vaccinated-people.html.

   35. In terms of safety, there is no evidence for genotoxicity, mutagenicity, teratogenicity,
       or oncogenicity for any of these COVID-19 vaccines.

   36. The Pfizer, BioNtech, and Moderna mRNA vaccines use mRNA, which is a snippet of
       genetic information but it is not a gene. It does not enter the nucleus or become part of
       a person’s DNA. The mRNA instructs cells to make the ‘spike’ protein of the virus
       that causes COVID-19. This protein is presented to a person’s immune cells and
       causes production of SARS-CoV-2 spike-specific immune responses (antibody and T
       cells). The Johnson and Johnson vaccine is a more traditional vaccine, except that it
       uses a disabled adenovirus to deliver the ‘spike’ protein instructions to a person’s
       immune system. The ‘spike’ is an entry receptor for the virus that causes COVID-19.
       This protein cannot cause tissue damage, lead to infection, or lead to complications.
       The immune response to this protein has been found to cause some rare adverse
       events such as myocarditis and blood clots (see discussion below), but the risks of
       these side effects is extremely low compared to the risks of severe complications from
       natural COVID-19 infection. See Torjesen, COVID-19: “Risk of cerebral blood clots
       from disease is 10 times than from vaccination, study finds”,
       https://www.bmj.com/content/373/bmj.n1005.full; Wise et al, “COVID-19: Should
       we be worried about reports of myocarditis and pericarditis after mRNA vaccines?”,
       https://www.bmj.com/content/373/bmj.n1635.

   37. Since April 2021, there have been rare reports of heart inflammation, known as
       myocarditis (inflammation of the heart muscle) or pericarditis (inflammation of the


                                                6
     Case 1:21-cv-11244-DJC Document 10 Filed 08/17/21 Page 7 of 13




   outer lining of the heart), in individuals who have received the COVID-19 mRNA
   (Pfizer BioNTech, Moderna) vaccines. Cases have tended to occur in males over 16 or
   young adults within a few days of the second dose of mRNA vaccine. Most affected
   people have responded well to treatment and rest. CDC continues to recommend
   vaccination of children age 12 and older, given the risks of infection with the virus
   that causes COVID-19 and related, possibly severe complications that may ensue. See
   Myocarditis and Pericarditis following mRNA COVID-19 vaccination,
   https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/myocarditis.html)

38. The American Association of Pediatrics continues to recommend COVID-19
    vaccination as the benefits are felt to outweigh the risk of myocarditis or pericarditis.
    See https://pediatrics.aappublications.org/content/148/2/e2021052336

39. The rate of myocarditis in all recipients is reported as 13 cases per million (0.0013%)
    doses of mRNA vaccines delivered (32 cases per million – 0.0032% -- in males age
    12-39). See Myocarditis with COVID-19 mRNA vaccines,
    https://www.ahajournals.org/doi/10.1161/CIRCULATIONAHA.121.056135. All
    vaccine-associated cases of myocarditis were treated and those with follow up were
    found to improve and survive. In contrast, 2.3% of COVID-19 recovered college
    athletes had imaging evidence of myocarditis. See Daniels et al, Prevalence of
    Clinical and Case 3:21-cv-00924-JAM Document 27-2 Filed 08/11/21 Page 12 of 27
    Subclinical Myocarditis in Competitive Athletes with Recent Sars-CoV-2 Infection:
    Results from the Big Ten Covid-19 Cardiac Registry,
    https://jamanetwork.com/journals/jamacardiology/fullarticle/2780548. In a risk-
    benefit analysis, the decision of the Advisory Committee on Immunization Practices
    (who makes recommendations to the CDC) remains in favor of vaccination to prevent
    not only COVID-19 related hospitalizations and death, but also COVID-19 related
    complications (myocarditis, MIS-C, and ‘long COVID-19’). See
    https://www.cdc.gov/mmwr/volumes/70/wr/mm7032e4.htm The CDC continues to
    recommend COVID-19 mRNA vaccination in individuals ages 12 and older. See
    Selected Adverse Events After COVID-19 Vaccination,
    https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/adverse-events.html.

40. There have been extremely rare reports of very serious blood clots (in particular,
    cerebral venous sinus thrombosis or CVST) associated with low platelet counts
    following the Johnson and Johnson COVID-19 vaccine (0.2-2.3 cases per million
    doses). This side effect was also seen with the adenovirus-vectored AstraZeneca
    COVID-19 vaccine which is licensed for use in the UK and EU (2.7 – 4.8 cases per
    million doses). This type of stroke occurs, on rare occasions, in individuals with
    certain risk factors (genetic clotting disorders, pregnancy, birth control pills,
    malignancy or certain infections). Individuals who are ill with COVID-19 have a
    much higher risk of blood clots in general. The specific risk for CVST in COVID-19
    patients is estimated at 207 per million cases. See ACIP-Reports of cerebral venous
    sinus thrombosis with thrombocytopenia after Janssen COVID-19 vaccine-April 14,
    2021 (cdc.gov); Cerebral Venous Sinus Thrombosis in the U.S. Population, After
    Adenovirus-Based SARS-CoV-2 Vaccination, and After COVID, Journal of the


                                              7
        Case 1:21-cv-11244-DJC Document 10 Filed 08/17/21 Page 8 of 13




      American College of Cardiology, vol 78 (4): 408-411.

Vaccine Adverse Event Reporting System.
   41. The Vaccine Adverse Event Reporting System (VAERS) is a passive reporting system
       for any vaccine administered in the United States. With regard to COVID-19 vaccine,
       CDC requires that vaccine providers report administration errors, serious adverse
       events, causes of multisystem inflammatory syndrome and any cases of COVID-19
       that result in hospitalization or death after administration of COVID-19 while still
       under EUA. Anyone can report a symptom to VAERS, including patients and family
       members of patients. A symptom report to VAERS does not imply causation, only
       that a symptom or outcome occurred after vaccination, according to the reporting
       party. However, monitoring of VAERS can help to identify safety concerns that might
       not other be captured. See https://www.fda.gov/vaccines-blood-biologics/vaccine-
       adverse-events/vaccine-adverse-event-reporting-system-vaers-questions-and-answers.

   42. Monitoring of the VAERS system has revealed several extremely rare serious adverse
       events, including Guillaine-Barre and thrombosis with thrombocytopenia syndrome
       (TTS) following the Johnson and Johnson vaccine and myocarditis following COVID-
       19 mRNA vaccine (Pfizer BioNtech and Moderna). A meeting of the Advisory
       Committee of Immunzation Practices (ACIP) on July 22, 2021 to review these serious
       adverse events concluded that the benefits outweigh the risks of COVID-19
       vaccination. See https://www.cdc.gov/mmwr/volumes/70/wr/mm7032e4.htm

   Vaccination After COVID-19 Infection.

   43. Re-infection after natural COVID-19 infection can occur due to waning antibody
       responses. The CDC therefore continues to recommend COVID-19 vaccination in
       individuals following natural infection. See Frequently Asked Questions about
       COVID-19 Vaccination, https://www.cdc.gov/coronavirus/2019-
       ncov/vaccines/faq.html; Interim Clinical Considerations for Use of COVID-19
       Vaccines | CDC), https://www.cdc.gov/vaccines/covid-19/clinical-
       considerations/covid-19-vaccines-us.html

   44. The risk of re-infection is markedly reduced if the naturally infected individual
       subsequently receives a COVID-19 vaccine. See Reduced Risk of Reinfection with
       SARS-CoV-2 After COVID-19 Vaccination — Kentucky, May–June 2021 | MMWR,
       https://www.cdc.gov/mmwr/volumes/70/wr/mm7032e1.htm. Recent studies have
       shown an expanded breadth of the antibody response in individuals who have had
       natural infection followed by COVID-19 vaccine. See Naturally enhanced
       neutralizing breadth against SARS-CoV-2 one year after infection,
       https://www.nature.com/articles/s41586-021-03696-9.

   45. There are no reports of serious, life-threatening adverse events in individuals
       recovered from COVID-19 who subsequently received COVID-19 vaccine.
       Therefore, CDC continues to recommend COVID-19 vaccine in those who have
       previously had COVID-19. See Interim Clinical Considerations for Use of COVID-

                                              8
        Case 1:21-cv-11244-DJC Document 10 Filed 08/17/21 Page 9 of 13




      19 Vaccines | CDC, https://www.cdc.gov/vaccines/covid-19/clinical-
      considerations/covid-19-vaccines-us.html).

Current COVID-19 Risks.

   46. There has been a steady increase in the number of cases of and hospitalizations due to
       COVID-19 in Massachusetts since June 2021. See https://www.mass.gov/info-
       details/covid-19-response-reporting#covid-19-interactive-data-dashboard-.

   47. New variants of COVID-19 continue to evolve and disseminate throughout the world.
       Variants are a concern as they may lead to viruses that: (a) have an increased ability to
       spread; (b) are able to escape detection by diagnostic assays; (c) are potentially less
       susceptible to existing vaccines; and (d) may lead to more severe disease outcomes.

   48. CDC is actively monitoring trends of SARS-CoV-2 variants. See SARS-CoV-2
       Variant Classifications and Definitions, https://www.cdc.gov/coronavirus/2019-
       ncov/variants/variant-info.html)

   49. A recent COVID-19 outbreak in Provincetown, MA resulted in over 900 new
       COVID-19 infections. See https://www.barnstablecountyhealth.org/newsroom/july-
       30-2021-update-covid-19-cluster-in-provincetown. Of 560 cases in MA residents,
       73% were vaccinated. Seven individuals were hospitalized with zero deaths. Risk
       factors for this cluster included large crowds (the population of Provincetown
       increases from approximately 3,000 to approximately 60,000 when tourists arrive),
       large capacity indoor parties, and no masking.

   50. Ninety percent of 133 viruses that were sequenced during the Provincetown cluster
       were identified as Delta variant, which is known to be highly transmissible. The cycle
       threshold value, an indirect measure of the amount of virus in a sample, was the same
       in vaccinated and unvaccinated individuals. See
       https://www.cdc.gov/mmwr/volumes/70/wr/mm7031e2.htm. These data, taken
       together, further reinforce the knowledge about the increased transmissibility of the
       Delta variant, not only for unvaccinated, but also vaccinated individuals.

   51. Vaccine efficacy could not be assessed as this would require knowing the vaccination
       status of all individuals in Provincetown during this cluster.

   52. While some have stated that this was a ‘vaccine failure,’ it is actually a vaccine
       success, as there was reduced disease severity and no deaths, which are the most
       important outcomes of COVID-19 vaccination. In contrast, a cluster investigation of a
       wedding reception in rural Maine with 55 unvaccinated unmasked individuals in
       August – September 2020 led to 177 epidemiologically linked infections, including 7
       hospitalizations and 7 deaths. See
       https://www.cdc.gov/mmwr/volumes/69/wr/mm6945a5.htm.

   53. COVID-19 vaccines are extremely effective at preventing hospitalization and death,


                                                9
       Case 1:21-cv-11244-DJC Document 10 Filed 08/17/21 Page 10 of 13




      even in older individuals. See
      https://www.cdc.gov/mmwr/volumes/70/wr/mm7032e3.htm.

   54. From January 1 – April 30, 2021, a total of 10,262 infections in fully immunized
       individuals were reported to CDC. See
       https://www.cdc.gov/mmwr/volumes/70/wr/mm7021e3.htm. Beginning on May 1,
       2021, CDC began to collect information on post-vaccination COVID-19 infections
       that led to hospitalization or deaths related to COVID-19 infection.

   55. As of August 15, 2021, more than 168 million people had been fully vaccinated in the
       US. See https://covid.cdc.gov/covid-data-tracker/#vaccinations_vacc-total-admin-
       rate-total. During that same time period, reports from 49 states and US territories
       indicated that a total of 8,054 fully vaccinated individuals had been hospitalized or
       died as a result of COVID-19 infection. See https://www.cdc.gov/vaccines/covid-
       19/health-departments/breakthrough-cases.html. In an article in the New York Times,
       data from 44 of the 50 state departments of health showed that only 0.1 – 4% of
       hospitalizations occurred in individuals who have been fully vaccinated against
       COVID-19 (‘breakthrough infections’). See
       https://www.nytimes.com/interactive/2021/08/10/us/covid-breakthrough-infections-
       vaccines.html. Some states still do not track this information, and others provided
       incomplete data sets.

Herd Immunity.

   56. COVID-19 rates are increasing among Massachusetts residents with transmission
       rates in all counties considered to be substantial or high. See
       https://covid.cdc.gov/covid-data-tracker/#county-view.

   57. Massachusetts has not yet reached herd immunity.

   58. Herd immunity is the indirect protection afforded to those who are not immune to a
       disease that occurs when most of a population is immune to an infectious disease. The
       percent of the population required to be immune differs by pathogen, and for COVID-
       19 is currently unknown.

   59. Many effective vaccines prevent illness but do not entirely eliminate the pathogen.
       COVID-19 vaccines are highly effective at preventing COVID-19, including serious
       outcomes of severe disease such as hospitalizations and death. See
       https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/fully-vaccinated-
       people.html.

   60. The level of protection required for herd immunity for COVID-19 is not presently
       known. Some believe that due to the evolution of SARS-CoV-2 variants, that herd
       protection will not be achieved. See Kadkhoda, Herd Immunity to COVID19:
       Alluring and Elusive,
       https://academic.oup.com/ajcp/article/155/4/471/6063411?login=true;
       Taylor, COVID-19: Is Manaus the final nail in the coffin for natural herd immunity?

                                              10
       Case 1:21-cv-11244-DJC Document 10 Filed 08/17/21 Page 11 of 13




      https://www.bmj.com/content/372/bmj.n394.short; Tkachenko et al, Time-Dependent
      Heterogeneity leads to transient suppression of the COVID-19 epidemic, not herd
      immunity, https://www.pnas.org/content/118/17/e2015972118.short; Burki, Herd
      Immunity for COVID-19, Herd immunity for COVID-19 - The Lancet Respiratory
      Medicine

   61. The current CDC Director has stated that the target for herd immunity is not known but
       that increasing the level of immunization is important for community protection. See
       https://www.foxnews.com/health/no-magic-target-herd-immunity-walensky. The
       variables that would need to be included in calculations of herd immunity for COVID-19
       are uncertain making any such thresholds highly inaccurate. See Five reasons why
       COVID herd immunity is probably impossible (nature.com)

   Asymptomatic and pre-Symptomatic Spread of COVID-19

   62. Early in the pandemic, it was recognized that asymptomatic or pre-symptomatic infection
       is a major driver of spread of the SARS-CoV-2 virus. Up to 30% of infected individuals
       never develop symptoms and spread from such asymptomatic individuals has been
       estimated to account for more than half of all transmissions. See
       https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2774707;
       https://academic.oup.com/cid/article/71/10/2679/5851471. Individuals infected with
       COVID-19 have been found to be highly infectious during the pre-symptomatic period
       (48 hours prior to start of symptoms) and are a major contributor to viral spread. See
       https://wwwnc.cdc.gov/eid/article/27/4/20-4576_article
       https://www.nejm.org/doi/full/10.1056/nejmoa2008457

   63. Since symptoms do not predict infectivity, to prevent transmission from asymptomatic or
       pre-symptomatic individuals, quarantine for the duration of the potential infectious
       window has been the tool used to prevent SARS-CoV-2 transmission in exposed
       individuals.

   64. Masking is an effective tool to prevent the spread of the virus that causes COVID-19. The
       level of protection from masks is significantly less than that afforded by vaccination, but
       is an important tool to implement for those who are unable to be vaccinated or for
       individuals in whom vaccination is anticipated to be largely ineffective. Unvaccinated
       individuals who do not wear masks put themselves at risk as well as others around them
       who are at increased risk of SARS-CoV-2 or who are immunocompromised. See
       https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/masking-science-
       sars-cov2.html

College-Aged Individuals and COVID-19.

   65. While the mortality rate from COVID-19 in those 18-29 years of age is lower than that in
       older age groups, on a per capita basis this age group has had the highest rates of
       infection since July 2020. While the percent likelihood of hospitalization and deaths have
       been lower in this age group, the rising numbers of infections in this age group have led


                                               11
    Case 1:21-cv-11244-DJC Document 10 Filed 08/17/21 Page 12 of 13




   to increasing numbers of hospitalizations of young people, especially in areas of the US
   with low vaccination rates. See https://covid.cdc.gov/covid-data-tracker/#new-hospital-
   admissions

66. As a new virus, the long-term effects of natural infection with SARS-CoV-2 are
    unknown. So-called “long COVID,” which can lead to long-term disability, can affect
    young adults regardless of disease severity. See https://www.cdc.gov/coronavirus/2019-
    ncov/long-term-effects.html. A study of long-term complications in mild-to-moderately
    severe COVID-19 patients who were not hospitalized showed that 50% of patients aged
    16 - 30 had lingering symptoms at 6 months, including concentration/memory
    difficulties, shortness of breath, and fatigue. See
    https://www.nature.com/articles/s41591-021-01433-3. Such symptoms may affect the
    ability of students to learn and progress academically. Heart inflammation is particularly
    a concern in young athletes who return to sports after asymptomatic infection or mild
    illness. See https://jamanetwork.com/journals/jamacardiology/fullarticle/2780548.

67. The goal of universal vaccination to protect the individual is vital, but reduction of
    exposures and transmissions to protect the campus community and the communities-at-
    large are equally important.

68. The college setting is comprised not only of students, but also includes faculty and staff
    with an older age demographic. Increasing age and pre-existing medical conditions
    increase the risk for severe disease in COVID-19. See
    https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
    medical-conditions.html

69. Infections in college-age individuals are potential drivers of infections in the community.
    See https://www.cdc.gov/mmwr/volumes/70/wr/mm7001a4.htm;
    https://www.medrxiv.org/content/10.1101/2020.09.22.20196048v1. A modeling study
    showed that colleges pose the risk of super-spreader events in neighboring communities,
    especially in the first two weeks after students return to campus. See
    https://www.tandfonline.com/doi/full/10.1080/10255842.2020.1869221. COVID-19-
    infected college-age individuals, who may be asymptomatic, pre-symptomatic or mildly
    symptomatic, may spread the virus that causes COVID-19 to other at-risk students,
    faculty or staff or to members of the community who may be immunocompromised,
    elderly, or not vaccine eligible.

70. There have been significant differences in the level of COVID-19 transmissions on
    college campuses which have impacted the ability of these local epidemics to spread into
    neighboring communities. Robust infection prevention strategies on college campuses
    such as masking and surveillance testing have been useful, but have not prevented
    outbreaks due to lack of adherence. Universal immunity to SARS-CoV-2 by way of
    immunization is the best and safest way to prevent COVID-19.




                                             12
       Case 1:21-cv-11244-DJC Document 10 Filed 08/17/21 Page 13 of 13




Conclusion

   71. In my expert opinion, the University of Massachusetts’ requirement that its students be
       vaccinated against COVID-19 is a safe, effective, and reasonable measure to protect the
       public health by lessening and/or preventing on-campus and community transmission
       among students, employees, and their communities and will significantly lessen
       morbidity and mortality in those populations. Individuals with immune compromise
       constitute ~2.7% of the US population and are likely similarly represented on the UMass
       campuses. This population is known to generate a lower immune response to COVID-19
       vaccines and thus may remain susceptible after vaccination. While the most severely
       immune compromised have been recently approved to receive booster immunizations
       (https://www.cdc.gov/coronavirus/2019-ncov/vaccines/recommendations/immuno.html),
       a large proportion of these individuals will remain vulnerable due to their underlying
       conditions. Beyond severe immunocompromise, there are many students, faculty, and
       staff who have medical conditions which put them at risk for severe COVID-19 (e.g.
       obesity, cardiovascular disease, renal disease, diabetes) and who may not generate as
       robust an immune response to vaccine. Immunization of students, faculty, and staff will
       help not only the individual, but also the community by protecting those who are
       vulnerable and affording them the same opportunity to participate in all learning and
       research opportunities on campus.

   72. I hold all of the above opinions to a reasonable degree of professional certainty and
       probability based upon the records and information that I reviewed and based upon my
       education, training, and professional experience. My opinions in this report are based on
       only the information that I have considered to date. I reserve the right to amend and
       supplement this report and any of my opinions in it consistent with all applicable
       procedural rules.

Date: August 17, 2021                               ______________________________
                                                    Sharone Green, M.D.




                                               13
